
667 S.E.2d 277 (2008)
STATE of North Carolina
v.
Robert Edgar UPCHURCH, Jr.
No. 123P08.
Supreme Court of North Carolina.
August 26, 2008.
Kathleen U. Baldwin, Catherine F. Jordan, Assistant Attorney Generals, Ronald L. Moore, District Attorney, for State of NC.
Charlotte Gail Blake, Boone, for Upchurch.

ORDER
Upon consideration of the petition filed by State of NC on the 20th day of March 2008 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
Upon consideration of the petition filed on the 20th day of March 2008 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
